                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                  )
International Refugee Assistance Project, and     )
                                                  )
Refugee and Immigrant Center for Education        )
and Legal Services,                               )
                                                  )       ORDER FOR ADMISSION PRO
                        Plaintiffs,               )       HAC VICE
                                                  )
                        v.                        )
                                                  )
United States Customs and Border Protection,      )
and                                               )       No. 1:20-cv-3202 (GBD) (KNF)
                                                  )
United States Department of State,                )
                                                  )
                        Defendants.               )
                                                  )


          The motion of Yvette Y. Changuin for admission to practice pro hac vice in the above-

captioned action is granted. Applicant has declared that she is a member in good standing of the

bar of the state of Texas; and that her contact information is as follows:

          Yvette Y. Changuin
          Refugee and Immigrant Center for
          Education and Legal Services
          802 Kentucky Ave
          San Antonio, TX 78201
          (210) 526-0042
          yvette.changuin@raicestexas.org

          Applicant having requested admission pro hac vice to appear for all purposes as counsel

for the Refugee and Immigrant Center for Education and Legal Services in the above entitled

action;

          IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above captioned case in the United States District Court for the Southern District of New York.



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All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.



 Dated:
                                                        United States District Judge




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